     Case 4:07-cv-05944-JST Document 2843-1 Filed 09/12/14 Page 1 of 4



 1   William A. Isaacson
     BOIES, SCHILLER & FLEXNER LLP
 2   5301 Wisconsin Ave. NW, Suite 800
 3   Washington, D.C. 20015
     Telephone: (202) 237-2727
 4   Facsimile: (202) 237-6131
     Email: wisaacson@bsfllp.com
 5
     Philip J. Iovieno
 6   Anne M. Nardacci
     BOIES, SCHILLER & FLEXNER LLP
 7   30 South Pearl Street, 11th Floor
     Albany, NY 12207
 8
     Telephone: (518) 434-0600
 9   Facsimile: (518) 434-0665
     Email: piovieno@bsfllp.com
10   Email: anardacci@bsfllp.com
11   Liaison Counsel for the Direct Action Plaintiffs
12
                                 UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
14

15                                                      Master File No. 07-5944 SC
      IN RE CATHODE RAY TUBE (CRT)
16    ANTITRUST LITIGATION                              MDL No. 1917
17                                                      DECLARATION OF PHILIP J.
18    This document relates to:                         IOVIENO IN SUPPORT OF DIRECT
                                                        ACTION PLAINTIFFS’ RENEWED
19    Schultze Agency Services, LLC, on behalf of       MOTION TO COMPEL
      Tweeter Opco, LLC and Tweeter Newco, LLC          PRODUCTION OF EUROPEAN
20    v. Hitachi, Ltd., et al., No. 12-cv-02649-SC      COMMISSION DECISION
21

22                                                      Judge: Hon. Samuel P. Conti
                                                        Court: Courtroom 1, 17th Floor
23                                                      Date: October 24, 2014
                                                        Time: 10:00 a.m.
24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT
     OF DIRECT ACTION PLAINTIFFS’ RENEWED
     MOTION TO COMPEL PRODUCTION OF EUROPEAN                             Master File No. 3:07-md-05944-SC
     COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843-1 Filed 09/12/14 Page 2 of 4



 1   I, PHILIP J. IOVIENO, declare as follows:
 2           1.     I am a partner at the law firm of Boies, Schiller & Flexner LLP, liaison counsel
 3   for the Direct Action Plaintiffs (“DAPs”)1 in this matter, and I am licensed to practice law in the
 4   State of New York and admitted to practice pro hac vice before this Court.
 5           2.     Attached hereto as Exhibit 1 is a true and correct copy of the Court’s March 26,
 6   2014 Order Denying Motion to Compel (ECF No. 2463).
 7           3.     Attached hereto as Exhibit 2 is a true and correct copy of e-mail correspondence
 8   between A. Nardacci, liaison counsel for the Direct Action Plaintiffs, and R. Brass, counsel for
 9   Chunghwa Picture Tubes, dated August 29, 2014 through September 5, 2014.
10           4.     Attached hereto as Exhibit 3 is a true and correct copy of the Commission
11   Decision in COMP/39.309 – LCD – Liquid Crystal Display, released on or about December 8,
12   2010.
13           5.     Attached hereto as Exhibit 4 is a true and correct copy of the Summary of
14   Commission Decision in COMP/39.437 – TV and computer monitor tubes, released by the
15   European Commission on or about December 5, 2012.
16           6.     Attached hereto as Exhibit 5 is a true and correct copy of a statement released by
17   the European Commission on or about December 5, 2012.
18           7.     Attached hereto as Exhibit 6 is a true and correct copy of the Direct Purchaser
19   Plaintiffs’ Second Set of Requests for Production of Documents, served on or about March 12,
20   2010.
21

22
     1
23     For purposes of this Declaration and the accompanying Renewed Motion, “DAPs” includes the
     following entities: ABC Appliance, Inc. d/b/a ABC Warehouse; Best Buy Co., Inc., Best Buy
24   Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P., BestBuy.com,
25   L.L.C., and Magnolia Hi-Fi, LLC; Interbond Corporation of America, CompuCom Systems, Inc.,
     Costco Wholesale Corp., Dell Inc., and Dell Products L.P.; Electrograph Systems, Inc., and
26   Electrograph Technologies Corp.; MARTA Cooperative of America, Inc.; Office Depot, Inc.;
     P.C. Richard & Son Long Island Corp.; Schultze Agency Services LLC on behalf of Tweeter
27   Opco, LLC, and Tweeter Newco, LLC; Sears Roebuck and Co., and Kmart Corp.; Alfred H.
     Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust; Target Corp.; Tech Data
28   Corp., and Tech Data Product Management, Inc.; and ViewSonic Corporation.
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT
     OF DIRECT ACTION PLAINTIFFS’ RENEWED
     MOTION TO COMPEL PRODUCTION OF EUROPEAN
                                                   -1-                        Master File No. 3:07-md-05944-SC
     COMMISSION DECISION
     Case 4:07-cv-05944-JST Document 2843-1 Filed 09/12/14 Page 3 of 4



 1           8.      Attached hereto as Exhibit 7 is a true and correct copy of the Direct Action
 2   Plaintiffs’ Second Set of Requests for Production of Documents to Defendants Chunghwa
 3   Pictures Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia), served on or about January 30,
 4   2014.
 5           9.      Attached hereto as Exhibit 8 is a true and correct copy of correspondence from
 6   counsel for the Direct Purchaser Plaintiffs, R. Alexander Saveri, to M. Scarborough, counsel for
 7   Samsung SDI, served on or about July 29, 2013.
 8           10.      Attached hereto as Exhibit 9 is a true and correct copy of correspondence from
 9   liaison counsel for the Direct Action Plaintiffs, P. Iovieno, to counsel for Defendants, served on
10   or about September 20, 2013.
11           11.     Attached hereto as Exhibit 10 is a true and correct copy of correspondence from
12   R. Brass, counsel for Chunghwa Picture Tubes, to P. Iovieno, liaison counsel for Direct Action
13   Plaintiffs, served on or about November 5, 2013.
14           12.     Attached hereto as Exhibit 11 is a true and correct copy of the Direct Action
15   Plaintiffs’ correspondence to the Honorable Vaughn R. Walker, served on or about January 31,
16   2014, seeking an order compelling production of the European Commission decision in
17   COMP/39.437 – TV and computer monitor tubes (ECF No. 2446).
18           13.     Attached hereto as Exhibit 12 is a true and correct copy of Defendants’
19   correspondence to the Honorable Vaughn R. Walker, served on or about February 28, 2014,
20   responding to the Direct Action Plaintiffs’ motion to compel (ECF No. 2449).
21           14.     Attached hereto as Exhibit 13 is a true and correct copy of a Statement of
22   Decision submitted by the Direct Action Plaintiffs to the Honorable Vaughn R. Walker,
23   containing an exhibit, Vichi v. Koninklijke Philips Electronics, N.V., 85 A.3d 725 (Del. Ch.
24   2014), served on or about March 4, 2014 (ECF No. 2448).
25           15.     Attached hereto as Exhibit 14 is a true and correct copy of Defendants’
26   correspondence to the Honorable Vaughn R. Walker, served on or about February March 12,
27   2014, responding to the Direct Action Plaintiffs’ Statement of Decision (ECF No. 2452).
28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION TO      -2-                      Master File No. 3:07-md-05944-SC
     COMPEL PRODUCTION OF EUROPEAN COMMISSION
     DECISION
     Case 4:07-cv-05944-JST Document 2843-1 Filed 09/12/14 Page 4 of 4



 1           16.     Attached hereto as Exhibit 15 is a true and correct copy of the reply by the Direct
 2   Action Plaintiffs regarding the Statement of Decision previously submitted to the Honorable
 3   Vaughn R. Walker, served on or about March 17, 2014 (ECF No. 2453).
 4           17.     Attached hereto as Exhibit 16 is a true and correct copy of correspondence from
 5   liaison counsel for the Direct Action Plaintiffs, P. Iovieno, to R. Brass, Counsel for Defendant
 6   Chunghwa Picture Tubes, served on or about July 7, 2014.
 7           18.     Attached hereto as Exhibit 17 is a true and correct copy of correspondence from
 8   liaison counsel for the Direct Action Plaintiffs, P. Iovieno, to R. Brass, Counsel for Defendant
 9   Chunghwa Picture Tubes, served on or about August 8, 2014.
10           19.     Attached hereto as Exhibit 18 is a true and correct copy of correspondence from
11   R. Brass, counsel for Chunghwa Picture Tubes, to P. Iovieno, liaison counsel for the Direct
12   Action Plaintiffs, served on or about July 21, 2014.
13           20.     Attached hereto as Exhibit 19 is a true and correct copy of correspondence from
14   R. Brass, counsel for Chunghwa Picture Tubes, to P. Iovieno, liaison counsel for the Direct
15   Action Plaintiffs, served on or about August 14, 2014.
16           21.     Attached hereto as Exhibit 20 is a true and correct copy of the Stipulated
17   Protective Order (ECF No. 306), entered by the Court in the instant action on or about June 18,
18   2008.
19
20           I declare under penalty of perjury that the foregoing is true and correct.
21   Executed this 12th day of September, 2014, at Albany, New York.
22

23                                                                  /s/ Philip J. Iovieno
                                                            Philip J. Iovieno
24

25

26
27

28
     DECLARATION OF PHILIP J. IOVIENO IN SUPPORT OF
     DIRECT ACTION PLAINTIFFS’ RENEWED MOTION TO      -3-                          Master File No. 3:07-md-05944-SC
     COMPEL PRODUCTION OF EUROPEAN COMMISSION
     DECISION
